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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

ALABAMA COALITION FOR                    )
IMMIGRANT JUSTICE, et al.,               )
                                         )
      Plaintiffs,                        )
                                         )
v.                                       ) Case No.: 2:24-cv-1254-AMM
                                         )
WES ALLEN, in his Official Capacity as   )
Alabama Secretary of State, et al.,      )
                                         )
      Defendants.                        )
                                         )


UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
v.                                       ) Case No.: 2:24-cv-1329-AMM
                                         )
STATE OF ALABAMA and WES                 )
ALLEN, in his Official Capacity as       )
Alabama Secretary of State,              )
                                         )
      Defendants.                        )
                                         )

                        PRELIMINARY INJUNCTION

      For decades, federal law has given states a hard deadline to complete

systematic purges of ineligible persons from voter rolls: no later than ninety days

before a federal election. This year, Alabama Secretary of State Wes Allen (1) blew

the deadline when he announced a purge program to begin eighty-four days before

the 2024 General Election, (2) later admitted that his purge list included thousands
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of United States citizens (in addition to far fewer noncitizens, who are ineligible to

vote), and (3) in any event, referred everyone on the purge list to the Alabama

Attorney General for criminal investigation.

      These cases allege that Secretary Allen unlawfully began a process within

ninety days of the 2024 General Election that placed 3,251 registered Alabama

voters on a path to removal from the voter rolls. See Alabama Coalition for

Immigrant Justice v. Allen, No. 2:24-cv-1254 (asserting constitutional and statutory

claims); United States of America v. Allen, No. 2:24-cv-1329 (asserting a statutory

claim). The court consolidated the cases, received briefing on motions to dismiss

and for preliminary injunctive relief, and received evidence at a hearing on October

15 and 16, 2024, including live testimony from Mr. Clay Helms, Chief of Staff to

Secretary Allen.

      Based on findings of fact and conclusions of law about the 90 Day Provision

of the National Voter Registration Act, 52 U.S.C. § 20507(c)(2), announced in open

court, it is hereby ORDERED that:

      1.     The State of Alabama and Secretary Allen are preliminarily enjoined

from continuing the program intended to systematically remove the names of

ineligible voters from registration lists that is the subject of this litigation (“the

Program”).

      2.     This order does not preclude removal of names from the official list of



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voters at the request of the registrant, by reason of criminal conviction or mental

incapacity (as provided by State law), by reason of the death of the registrant, or

based on individualized information about non-citizenship.

      3.       This order does not limit Secretary Allen’s authority or ability to

remove noncitizens from Alabama’s voting rolls, nor Alabama’s authority or ability

to investigate noncitizens who register to vote or vote in Alabama’s elections. The

preliminary injunction applies only to the Program.

      4.       Within three days of this Order, Secretary Allen is ordered to issue

guidance to county registrars in all sixty-seven counties to immediately restore to

active status the voter registration records of registrants inactivated as part of the

Program, so long as those individuals (1) did not subsequently submit a voter

removal request, or (2) are not subject to removal by reason of criminal conviction

or mental incapacity (as provided by State law), or by reason of the death of the

registrant.

       5.      Within three days of this Order, Secretary Allen is further ordered to

issue guidance to county registrars in all sixty-seven counties to immediately provide

a remedial mailing to each registrant inactivated as part of the Program who did not

subsequently submit a voter removal request:

            a. Informing the registrant that eligible registrants have been restored to

               active status;



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            b. Explaining that eligible registrants may cast a regular ballot on Election

                 Day in the same manner as other eligible voters;

            c. Advising the registrant that inclusion in the Program does not by itself

                 establish that they are ineligible to vote or subject to criminal

                 prosecution for registering to vote or for voting; and

            d. Advising registrants who are not United States citizens that they remain

                 ineligible to cast a ballot in Alabama elections.

       6.        Within three days of this Order, Secretary Allen is further ordered to

issue guidance to county registrars in all sixty-seven counties to immediately provide

a remedial mailing to each registrant inactivated as part of the Program who

subsequently submitted a voter removal request, (1) advising these individuals that

if they are United States citizens and otherwise meet voter qualifications, they have

the right to vote and may reregister to vote; and (2) advising these individuals about

how to reregister to vote before the applicable deadline. This remedial mailing need

not go to any individual who submitted a voter removal request and conceded

ineligibility.

       7.        Within three days of this Order, Secretary Allen (1) shall post template

copies of both remedial mailings, along with a copy of this Order, on his

governmental website, and (2) shall issue a press release in his office’s customary

manner that announces this court’s order. Following discussions with counsel for the



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State on the second day of the hearing in these cases, the court also orders that

Secretary Allen’s governmental website should reflect in a manner consistent with

Alabama law that the information in Secretary Allen’s August 13, 2024 press release

has now been superseded by federal court order.

      8.     Within five days of this Order, Secretary Allen shall write to the

Alabama Attorney General a letter in follow-up to Secretary Allen’s

August 14, 2024 letter referring 3,251 Alabamians for criminal investigation in

connection with the Program. Secretary Allen’s follow-up letter must communicate

to the Attorney General that the Secretary’s office has determined since the

commencement of the Program that a number of Alabamians were inaccurately

referred to the Attorney General and shall identify those Alabamians in the same

manner they were identified in the original letter.

      9.     This preliminary injunction expires on the day after the 2024 General

Election.

      10.    The court reserves ruling on all other issues in these cases.

      DONE and ORDERED this 16th day of October, 2024.



                                     _________________________________
                                     ANNA M. MANASCO
                                     UNITED STATES DISTRICT JUDGE




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